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Summary of Payees
Ian B. Freeman DBA NH Peace Church
Santander Bank CHK A/C 2523
Time Period: October 2, 2020 ‐ December 2, 2020
Deposit Source                Count Total Deposited Percentage of Total
A      ,D      L.               1            $7,800.00     1.55%
A ,R           A.               2           $25,000.00     4.96%
B      ,P                       1           $98,900.00    19.64%
B      ,P       A.              3         $183,000.00     36.33%
C ,K        K.                  5         $110,250.00     21.89%
Freeman, Ian B.                 1            $5,000.00     0.99%
H        ,D                     5            $8,500.00     1.69%
Maker Unknown                   4            $2,980.00     0.59%
NH Peace Church (Refund)        1              $675.00     0.13%
R        ,K                     2              $725.00     0.14%
Seacoast Coin & Jewelry         1            $2,822.50     0.56%
S       ,R       C.             1           $58,000.00    11.52%
Grand Total                     27        $503,652.50    100.00%


Summary of Payees
Ian B. Freeman DBA NH Peace Church
Santander Bank CHK A/C 2523
Time Period: October 2, 2020 ‐ December 2, 2020
Payee                          Count    Total Paid     Percentage of Total
Bank Fee                         2            ‐$195.00        0.04%
Freeman, Ian                     4         ‐$13,000.00        2.68%
NH Peace Church                  1            ‐$675.00        0.14%
Transfer CHK 9819 (Ian B. Free   4       ‐$471,000.00        97.14%
Grand Total                     11       ‐$484,870.00       100.00%




as of November 19, 2022
